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UNITED STATES BANKRUPTCY COURT
Southern District of Texas
PDF FILE WITH AUDIO FILE ATTACHMENT

      2023-90085
      Sorrento Therapeutics, Inc. and Official Committee of Unsecured Creditors
      Hearing on [1473], [1532], and [1594]. 1 of 2.




      Case Type :                    bk
      Case Number :                  2023-90085
      Case Title :                   Sorrento Therapeutics, Inc. and Official Committee of Unsecured
                                     Creditors
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